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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DONNA R. HUDNELL,                       :      CIVIL ACTION

               vs.                      :      NO. 20-1621

THOMAS JEFFERSON UNIVERSITY :
HOSPITALS, INC.

                                      ORDER

             AND NOW, TO WIT: This 27th day of August, 2021,
it having been reported that the issues between the parties in the above action has been
settled and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the
Local Rules of Civil Procedure of this Court, it is

             ORDERED that the above action is DISMISSED with prejudice,
pursuant to agreement of counsel without costs.

                                            KATE BARKMAN, Clerk of Court


                                            BY: /s/ Katie Rolon
                                                Katie Rolon
                                                Civil Deputy Clerk

Copies Emailed on 8/27/21 to:
 Greg Greubel, Esq.
 Sidney R. Steinberg, Esq.
 David E. Renner, Esq.




Civ 2 (7/83)

41.1(b)
